EXHIBIT 15
DefenseLink: Contracts for Tuesday, December 18, 2007                                             http://www.defenselink.mil/contracts/contract.aspx?contractid=3670




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                                                          Contract

                                   On the Web:                                                           Public contact:
                                   http://www.defenselink.mil/contracts/contract.aspx?contractid=3670    http://www.defenselink.mil/faq/comment.html
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                                   FOR RELEASE AT                                                                                                           No. 1415-07
                                   5 p.m. ET                                                                                                           December 18, 2007




                                                                                                CONTRACTS

                                                                                                   NAVY
           Special Reports

            Heroes                          International Military and Government LLC (IMG), Warrenville, Ill., is being awarded $1,183,141,218 for
                                   firm-fixed-priced delivery order #0006 under previously awarded contract (M67854-07-D-5032) to purchase an additional
            Why We Serve           1,500 Category I (CAT I) Mine Resistant Ambush Protected (MRAP) Low Rate Initial Production (LRIP) vehicles. This
                                   order also includes sustainment items needed to support the vehicles in theater as well as several Engineering Change
            MRAP Vehicles          Proposals to increase the vehicles’ capabilities. The CAT I is an MRAP vehicle used by the Marine Corps and other Joint
                                   Forces for convoy operations. The MRAP vehicles are required to increase the survivability and mobility of troops
            Wounded Care           operating in hazardous fire areas against known threats such as improvised explosive devices, small arms fire and other
                                   explosive threats. Work will be performed in WestPoint, Miss., and work is expected to be completed by the end of Jul.
                                   2008. Contract funds will not expire by the end of the current fiscal year. This contract was competitively procured. The
           Humanitarian Missions   Marine Corps Systems Command, Quantico, Va., is the contracting activity.
            USNS Comfort
                                            BAE Systems Land & Armaments, LP. Ground Systems Division, York, Pa., is being awarded $645,445,800 for
            A Force for Good       firm-fixed-priced delivery order #0006 under previously awarded contract (M67854-07-D-5025) to purchase 600 Mine
                                   Resistant Ambush Protected (MRAP) Category II vehicles, engineering change proposals and vehicle sustainment
                                   Integrated Logistics Support (ILS). The MRAP vehicles are required to increase the survivability and mobility of troops
           Subscribe               operating in hazardous fire areas against known threats such as improvised explosive devices, small arms fire and other
                                   explosive threats. Work will be performed in York, Pa., and work is expected to be completed by June 2008. Contract
            E-Mail                 funds will not expire by the end of the current fiscal year. This contract was competitively procured. The Marine Corps
                                   Systems Command, Quantico, Va., is the contracting activity.
            RSS

            Podcasts                        Stewart & Stevenson Tactical Vehicle, Division of Armor Holdings, Sealy, Texas, is being awarded $458,128,283
                                   for a firm-fixed-priced delivery order #0003 under previously awarded contract (M67854-07-D-5030) to purchase 668
                                   Mine Resistant Ambush Protected Category II (CAT II) vehicles with CAT I seating configuration, sustainment parts and
                                   engineering change proposals. The MRAP vehicles are required to increase the survivability and mobility of troops
                                   operating in hazardous fire areas against known threats such as improvised explosive devices, small arms fire and other
                                   explosive threats. Work will be performed in Sealy, Texas, and is expected to be completed Jul. 2008. Contract funds will
                                   not expire at the end of the current fiscal year. This contract was competitively procured. The Marine Corps Systems
                                   Command, Quantico, Va., is the contracting activity.

                                            Force Protection Industries, Inc. (FPII), Ladson, S.C,, is being awarded a $377,775,613 firm fixed priced delivery
                                   order #0007 under Contract (M67854-07-D-5031) for the purchase of 178 Mine Resistant Ambush Protected Category I
                                   vehicles, 180 MRAP CAT II vehicles, including engineer change proposals and Integrated Logistic Support. The MRAP
                                   vehicles are required to increase the survivability and mobility of troops operating in hazardous fire areas against known
                                   threats such as improvised explosive devices, small arms fire and other explosive threats. The sustainment ILS will
                                   consist of Authorized Stockage ListCAT I and CAT II, Prescribed Load ListingCAT I and CAT II, Deprocessing, and Basic
                                   Issue Items. Work will be performed in Ladson, S.C., and work is expected to be completed by Jul. 2008. Contract funds
                                   will not expire at the end of the current fiscal year. This contract was competitively procured. The Marine Corps Systems
                                   Command, Quantico, Va., is the contracting activity.

                                            Raytheon Co., Tucson, Ariz., is being awarded an $80,528,448 modification to a previously awarded
                                   firm-fixed-price contract (N00019-07-C-0093) to exercise an option for the fourth full rate production (FRP-4) of 350
                                   AGM-154C Unitary Joint Stand-Off Weapons (JSOW-C), special tooling and special test equipment (ST/STE), technical
                                   and financial data, a Performance Characterization Test Vehicle, and production acceptance testing. Work will be
                                   performed in Tucson, Ariz., and is expected to be completed in Feb. 2010. Contract funds will not expire at the end of the
                                   current fiscal year. The Naval Air Systems Command is the contracting activity.

                                              Raytheon Missile Systems Co., DBA Raytheon Systems Co., Tucson, Ariz., is being awarded a $32,925,205
                                   order on a previously awarded firm-fixed-priced, indefinite-delivery/ indefinite-quantity contract (N00019-07-D-0001) to
                                   provide full recertification of 166 All-Up-Round (AUR) Tomahawk Missiles for the U. S. Navy and six AUR Tomahawk




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                                 Missiles for the Government of the United Kingdom. The order will also procure Systems Engineering Integration Agent
                                 support and fixed support for Encanisterization/Decanisterization of MK-14 AUR missiles. This contract will fulfill
                                 requirements for the U.S. Navy ($31,835,605; 97 percent) and the United Kingdom ($1,089,600; 3 percent) under the
                                 Foreign Military Sales Program. Work will be performed in Tucson, Ariz. (80 percent) and Camden, Ark. (20 percent),
                                 and is expected to be completed in Apr. 2009. Contract funds in the amount of $31,835,605 will expire at the end of the
                                 current fiscal year. The Naval Air Systems Command, Patuxent River, Md. is the contracting activity.

                                         Bell-Boeing Joint Program Office, Patuxent River, Md., is being awarded a $31,765,091 cost-plus-fixed-fee
                                 delivery order against a previously issued basic ordering agreement (N00019-04-G-0007) under the MV-22 Follow-on
                                 Flight Test and Evaluation Program, to provide on-site, home-based, and off-site flight test management, flight test
                                 engineering, design engineering, and related efforts to support the conduct of flight and ground testing. Work will be
                                 performed in Patuxent River, Md. (60 percent); Ridley Park, Pa. (20 percent); and Ft. Worth, Texas (20 percent) and is
                                 expected to be completed in Dec. 2008. Contract funds will not expire at the end of the current fiscal year. The Naval Air
                                 Systems Command, Patuxent River, Md., is the contracting activity.

                                       Ideal Innovations, Inc., Arlington, Va., is being awarded $18,100,000 for firm-fixed-priced, delivery order #0001
                                 under previously awarded contract (M67854-08-D-5000) for Mine Resistant Ambush Protected (MRAP) II test
                                 vehicles. The MRAP II contracts are a developmental effort to purchase test vehicles and armor coupons for enhanced
                                 MRAP survivability and mobility tests. The MRAP II contracts will also contain ordering options for production
                                 quantities. The Government shall procure MRAP II test vehicles and armor coupons to be delivered to Aberdeen Test
                                 Center via this Delivery Order. Work will be performed in Wixom, Mich.; Costa Mesa, Calif.; and Oshkosh, Wis., and
                                 work is expected to be completed Jul. 2008. Contract funds will not expire by the end of the current fiscal year. This
                                 contract was competitively procured. The Marine Corps Systems Command, Quantico, Va., is the contracting activity.

                                        DynCorp International LLC, Fort Worth, Texas is being awarded a $14,126,296 modification to a previously
                                 awarded cost-plus-fixed-fee contract (N00019-06-C-0308) to exercise an option for maintenance and support services
                                 for the Kuwaiti Air Force F/A-18 Program under the Foreign Military Sales Program. Work will be performed in Kuwait (90
                                 percent) and Fort Worth, Texas (10 percent), and is expected to be completed in Dec. 2008. Contract funds will not
                                 expire at the end of the current fiscal year. The Naval Air Systems Command Patuxent River, Md. is the contracting
                                 activity.

                                          Northrop Grumman Space and Mission Systems Corp., Stafford, Va, is being awarded $12,928,699 for task order
                                 #0088 under previously awarded contract (M67854-02-A-9016) for on-going engineering, analytical, logistics and
                                 warranty support for PM Engineer Systems (PM/ES) in the areas of Mobility and Countermobility, Construction and
                                 Material Handling Equipment, Engineer Support Equipment, and lifecycle support. Critical FY08 requirements include
                                 the PM/ES responsibility for the Joint Assault Bridge and the Assault Breacher Vehicle programs, currently designated as
                                 ACAT III, Marine Corps’ programs. Each will continue to require significant acquisition, systems engineering, logistics,
                                 and test management support. Major activities for the ABV include Follow on Test and Evaluation (FOT&E) for the
                                 Integrated Vision System, Electrical Magnetic Interference testing, Full Rate Production (FRP), and Fielding Decision.
                                 Major activities for the JAB include a Pre-Production Qualification Testing (PPQT), a MS/C Low Rate Initial Production
                                 (LRIP) Decision, fabrication of JABs 2 and 3, the start of Production Qualification Testing (PQT). Additionally, we
                                 anticipate program initiation for a Family of Metal Detectors. Additional PM/ES FY08 requirements include, but not limited
                                 to, acquisition, logistical and analytical support for the complete portfolio of equipment, and more specifically for the
                                 Ground Expeditionary Refueling System (GERS), Bridge Erection Boats (BEB), Family of Tactical Bridging (FTB), Rough
                                 Terrain Cargo Handler (RTCH), All Terrain Crane (ATC), Medium Crawler Tractor (MCT), 130 G Road Grader
                                 Replacement, 621B Scraper Replacement, Tractor Rubber Tired Articulated Multi Purpose (TRAM), Engineer Equipment
                                 Trailer (EET), Engineer Equipment Armor, Family of Tactical Fuel Systems (TFS), Family of Water Supply Support
                                 Equipment (WSSE), Tactical Water Purification System (TWPS), Family of Engineer Construction Tool Kits (FECTK),
                                 Dust Abatement, Airfield Damage Repair (ADR), Family of Explosive Ordnance Disposal (FEOD), Counter Improvised
                                 Explosive Device (CIED) Light Weight Rollers, Armored Combat Excavator (ACE) Modernization Upgrade and
                                 supplemental funding requirements. Work will be performed in Stafford, Va. (86 percent); Camp Lejeune, N.C. (4
                                 percent); Marine Corps Logistics Base, Albany, Ga. (4 percent); Camp Pendleton, Calif. (3 percent); and Camp Butler,
                                 Okinawa, Japan (3 percent), and work is expected to be completed in January 2009. This contract was competitively
                                 procured. Contract funds will not expire at the end of the current fiscal year. The Marine Corps System Command,
                                 Quantico, Va., is the contracting activity.

                                       Northrop Grumman Corp., Integrated Systems Western Region, San Diego, Calif., is being awarded a $12,115,659
                                 modification to a previously awarded cost-plus-fixed-fee contract (N00019-05-C-0057) for operations and maintenance
                                 support for the Global Hawk Maritime Demonstration (GHMD), including operation and sustainment, logistics support
                                 and sustaining engineering throughout the demonstration. Work will be performed in Patuxent River, Md. (90 percent)
                                 and San Diego, Calif. (10 percent), and is expected to be completed in December 2008. Contract funds in the amount of
                                 $4,584,749 will expire at the end of the current fiscal year. The Naval Air Systems Command, Patuxent River, Md., is the
                                 contracting activity.

                                         General Dynamics, Electric Boat Corp., Groton, Conn., is being awarded an $11,415,477 modification to
                                 previously awarded contract (N00024-06-C-4003) for services required to staff and operate the Nuclear Regional
                                 Maintenance Department. Under the terms of the contract, Electric Boat will continue to perform project management,
                                 engineering and planning, training, inspection and services to accomplish submarine maintenance, modernization and
                                 repairs. Work will be performed New London, Conn. and is expected to be completed by Sep. 2008. Contract funds will
                                 expire at the end of the current fiscal year. The Naval Sea Systems Command, Washington Navy Yard, DC is the
                                 contracting activity (N00024-06-C-4003).

                                         Rockwell Collins Government Systems, Inc., Cedar Rapids, Iowa, is being awarded a $6,487,008 order against a
                                 previously awarded basic ordering agreement (N00019-05-G-0024) for the procurement of 356 A-10
                                 Beyond-Line-of-Sight (BLOS) A-Kits and 392 A-10 BLOS B-Kits in support of the A-10 Program Office at Wright
                                 Patterson Air Force Base. Items are in support of the Global War on Terror to provide BLOS capabilities. Work will be
                                 performed in Cedar Rapids, Iowa, and is expected to be completed in Jul. 2009. Contract funds will not expire at the end
                                 of the current fiscal year. The Naval Air Systems Command, Patuxent River, Md., is the contracting activity.




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                                          Scientific Research Corp., Atlanta, Ga., is being awarded a $5,922,645 modification to a previously awarded
                                 indefinite-delivery/indefinite-quantity, cost-plus-fixed-fee, performance-based contract (N65236-05-D-6854) to provide
                                 integrated systems engineering support services to Space and Naval Warfare Systems Center, Charleston. The
                                 contractor shall provide system engineering, software integration, configuration management, test, fleet introduction,
                                 product improvement, quality assurance, and life cycle management support for various C4ISR requirements, programs,
                                 and projects. This contract includes four one-year options, which, if exercised, would bring the cumulative value of the
                                 contract to $33,479,476. The work will be performed in Charleston, S.C., (52 percent) and Lexington Park, Md., (48
                                 percent) and is expected to be completed by Mar. 2008. Contract funds will not expire at the end of the current fiscal
                                 year. This contract was competitively procured with proposals solicited and two offers were received via the Commerce
                                 Business Daily’s Federal Business Opportunities website and the SPAWAR e-Commerce Central website. The Space
                                 and Naval Warfare Systems Center, Charleston, S.C., is the contracting activity.

                                          BAE Systems Land and Armaments L.P. Ground Systems, Santa Clara, Calif., is being awarded a $5,800,000
                                 firm fixed priced delivery order #0001 under previously awarded contract (M67854-08-D-5001) for Mine Resistant
                                 Ambush Protected (MRAP) II test vehicles. The MRAP II contracts are a developmental effort to purchase test vehicles
                                 and armor coupons for enhanced MRAP survivability and mobility tests. The MRAP II contracts will also contain ordering
                                 options for production quantities. The Government shall procure MRAP II test vehicles and armor coupons to be
                                 delivered to Aberdeen Test Center via this Delivery Order. Work will be performed in Sealy, Texas; York, Pa.; and
                                 Fairfield, Ohio, and work is expected to be completed Jul. 2008. Contract funds will not expire at the end of the current
                                 fiscal year. This contract was competitively procured. The Marine Corps Systems Command, Quantico, Va., is the
                                 contracting activity.

                                         Complete Parachute Solutions, Deland, Fla., is being awarded a $5,032,657 firm-fixed-price contract for
                                 procurement of 250 Multi Mission 14 parachute systems, 53 Tandem Systems, 50 extra spare parts kit, and 100 training
                                 hanging harness. Work will be performed in Deland, Fla. and is expected to be completed by Dec. 2009. Contract funds
                                 in the amount of $5,032,657, will expire at the end of the current fiscal year. The contract was not competitively
                                 procured. The Naval Surface Warfare Center, Panama City Division, Panama City, Fla., is the contracting activity
                                 (N61331-08-C-0014).

                                                                                            ARMY

                                          Lockheed Martin Corporation, Missile and Fires Control, Dallas, Texas, was awarded on Dec. 13, 2007, a
                                 $193,800,000 firm-fixed price and cost-plus-fixed-fee contract for 101 Each Army Tactical Missile System Block and
                                 Anti-Personnel/Anti-Material Guided Missile Launching Assembly and Support efforts. Work will be performed in Grand
                                 Prairie, Texas, and is expected to be completed July 31, 2010. Contract funds will not expire at the end of the current
                                 fiscal year. There was 1 bid solicited on March 14, 2007, and 1 bid was received. U.S. Army Aviation and Missile
                                 Command, Redstone Arsenal, Ala., is the contracting activity (W31P4Q-07-C-0302).

                                        Lockheed Martin Corp, Missiles and Fire Control, Grand Prairie, Texas, was awarded on Dec. 13, 2007, a
                                 $485,050,245 firm-fixed price and Cost-plus-fixed-fee contract for PATRIOT Advanced Capability. Work will be
                                 performed in Grand Prairie, Texas, and is expected to be completed by July 31, 2010. Contract funds will not expire at
                                 the end of the current fiscal year. There was 1 bid solicited on Nov. 24, 2006, and 1 bid was received. U.S. Army Aviation
                                 and Missile Command, Redstone Arsenal, Ala., is the contracting activity (W31P4Q-06-C-0180).

                                        Archer Western Contractors LTD., Atlanta, Ga., was awarded on Dec. 14, 2007, a $63,101,229 fixed-firm price
                                 contract for construction of buildings to support Missile Defense Agency and U.S. Army Space and missile Defense
                                 Command activities. Work will be performed in Redstone Arsenal, Ala., and is expected to be completed by Jan. 2,
                                 2011. Contract funds will not expire at the end of the current fiscal year. There were Web bids solicited on April 30, 2007,
                                 and 3 bids were received. Corps of Engineers Mobile, District, Mobile, Ala., is the contracting activity
                                 (W91278-08-C-0011).

                                          iRobot Corp., Burlington, Mass., was awarded on Dec. 14, 2007, an $8,931,055 firm-fixed-price contract for
                                 robotic systems, parts and training. Work will be performed in Dayton, Ohio, and is expected to be completed by Sept.
                                 30, 2012. Contract funds will not expire at the end of the current fiscal year. There were 5 bids solicited on Aug. 3, 2007,
                                 and 2 bids were received. U.S. Army Program Executive Office for Simulation, Training and Instrumentation, Orlando,
                                 Fla., is the contracting activity (W900KK-080D-0033).

                                          Coakley & Williams Construction Inc., Gaithersburg, Md., was awarded on Dec. 14, 2007, a $30,997,000
                                 firm-fixed-price, contract for Construction of Administrative and Operations Center. Work will be performed in Fort
                                 Meade, Md., and is expected to be completed by Dec. 30, 2009. Contract funds will not expire at the end of the current
                                 fiscal year. There were 4 bids solicited on June 1, 2007, and 4 bids were received. U.S. Army Corps of Engineers,
                                 Baltimore District, Baltimore, Md., is the contracting activity (W912DR-08-C-0005).

                                         BAE Systems Division, Armament Systems Division, Minneapolis, Minn., was awarded on Dec. 14, 2007, a $5,
                                 874,631, firm-fixed-price contract for Vehicle Emergency Escape Windows for the M1114 UP ARMOR High Mobility
                                 Multi-purpose Wheeled Vehicles. Work will be performed in Butler, Pa., and is expected to be completed by Jan. 23,
                                 2008. Contract funds will not expire at the end of the current fiscal year. There was 1 bid solicited on Aug. 17, 2007, and
                                 1 bid was received. TACOM, Detroit Arsenal, Warren, Mich., is the contracting activity (W56HZV-07-C-0660).

                                          Northrop Grumman Systems Corporation, Rolling Meadows, Ill., was awarded on Dec. 14, 2007, a $24,652,870
                                 firm-fixed-price contract for Laser Television Sensor assembly of the Mast Mounted Sight for the OH-58D
                                 helicopter. Work will be performed in Rolling Meadows, Ill., and is expected to be completed by April 30, 2012. Contract
                                 funds will not expire at the end of the current fiscal year. There was 1 bid solicited on Aug. 23, 2007, and 1 bid was
                                 received. U.S. Army Aviation and Missile Command, Redstone Arsenal, Ala., is the contracting activity
                                 (W58RGZ-08-C-0062).




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                                                                          DEFENSE LOGISTICS AGENCY
                                            Glenn Oil Company, LLC, Lawton, Okla.,* is being awarded a maximum $8,875,043.04 fixed price with economic
                                    price adjustment contract for fuel products delivery. Other locations of performance are throughout the United
                                    States. Using services are Army, Air Force, and Federal Civilian Agencies. There were 22 responses to the original
                                    proposed solicitation. Contract funds will not expire at the end of the current fiscal year. Date of performance completion
                                    is May 31, 2009. The contracting activity is Defense Energy Supply Center (DESC), Fort Belvoir, Va.
                                    (SPO600-04-D-4514).

                                             Farstad Oil, Inc., Minot, N.D., * is being awarded a maximum $7,969,504.68 fixed price with economic price
                                    adjustment contract for fuel products delivery. Other locations of performance are throughout the United States. Using
                                    srvices are Army, Air Force, and Federal Civilian Agencies. There were 22 responses to the original proposed
                                    solicitation. Contract funds will not expire at the end of the current fiscal year. Date of performance completion is May 31,
                                    2009. The contracting activity is Defense Energy Supply Center (DESC), Fort Belvoir, Va. (SPO600-04-D-4510).

                                    *Small Business


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